900 F.2d 254Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Restoney ROBINSON, Plaintiff-Appellant,v.US MAGISTRATE &amp; AGENCY;  US District Judge, GreensboroDivision, Third-Party of Conspiracy, Defendants-Appellees.
    No. 90-6516.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 14, 1990.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Greensboro.  Richard C. Erwin, Chief District Judge.  (C/A No. 89-809-C-G).
      Restoney Robinson, appellant pro se.
      M.D.N.C.
      DISMISSED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Restoney Robinson appeals from the district court's order denying him leave to file his complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    